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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

                                           No. 1:21-cv-351-GHW-VF
   IN RE AMAZON.COM, INC. EBOOK
   ANTITRUST LITIGATION                    PLAINTIFFS’ NOTICE OF
                                           SUPPLEMENTAL AUTHORITY IN
                                           SUPPORT OF THEIR CONSOLIDATED
                                           OPPOSITION TO MOTIONS TO
                                           DISMISS




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         As supplemental authority in further support of their consolidated opposition to

Defendants’ Motions to Dismiss the Second Amended Consolidated Complaint, ECF No. 194,

Plaintiffs submit for the Court’s consideration the attached recently issued decision in Floyd v.

Amazon.com, Inc., et al., Case 2:22-cv-01599-JCC (W.D. Wash.), which is the third of a trio of

recent decisions to sustain antitrust claims against Amazon’s operation of its online two-sided

marketplace platform. See also De Coster v. Amazon.com, Inc., 2023 WL 372377, at *5 (W.D.

Wash. 2023); Frame-Wilson v. Amazon.com, Inc., 591 F. Supp. 3d 975, 986 (W.D. Wash. 2022).

DATED: June 21, 2023                          Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 21, 2023, I electronically transmitted the foregoing document

to the Court Clerk using the ECF System for filing. The Clerk of the Court will transmit a Notice

of Electronic Filing to all ECF registrants.

                                                      /s/ Steve W. Berman
                                               STEVE W. BERMAN




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                                                               Defendant Amazon, Inc. operates the world's largest online
                    2023 WL 3891973                            retail marketplace. (Dkt. No. 37 at 4, 12.) Defendant Apple
      Only the Westlaw citation is currently available.        Inc. is the world's largest technology company responsible
      United States District Court, W.D. Washington,           for designing, manufacturing, and selling iPhones and iPads,
                         at Seattle.                           among other products. (Id. at 4, 12.) In addition to selling
                                                               products directly to consumers, it also sells products through
        Steven FLOYD, individually and on behalf               third-party distributors, like Amazon. (Id.) In 2018, Apple and
         of all others similarly situated, Plaintiff,          Amazon (hereinafter, “Defendants”) signed an agreement,
                             v.                                effective January 1, 2019, known as the “Global Tenets
                                                               Agreement” (“GTA”). (Id. at 6.) The GTA required Amazon
    AMAZON.COM, INC. and Apple Inc., Defendants.
                                                               to allow only Apple-authorized sellers to sell Apple products
                  CASE NO. C22-1599-JCC                        on Amazon's marketplace. (Id.) In exchange, Apple would
                             |                                 provide a steady supply of Apple products to Amazon at
                    Signed June 8, 2023                        a discounted rate. (Id.) On February 26, 2021, Plaintiff
                                                               Steven Floyd purchased an Apple iPad from the Amazon
Attorneys and Law Firms                                        Marketplace for $319.99. (Id. at 12.) The price of this iPad
                                                               was inflated due to the GTA, which “eliminate[d] or at least
Ben Harrington, Pro Hac Vice, Benjamin Siegel, Pro Hac
                                                               substantially reduce[d] the competitive threat posed by third-
Vice, Hagens Berman Sobol Shapiro LLP, Berkeley, CA,
                                                               party merchants.” (Id. at 5.) Prior to the GTA, there were
Barbara Mahoney, Steve W. Berman, Hagens Berman Sobol
                                                               hundreds of third-party Apple resellers active on Amazon.
Shapiro LLP, Seattle, WA, for Plaintiff.
                                                               (Id. at 4.) Following the GTA, the number of sellers narrowed
Benjamin M. Mundel, Pro Hac Vice, Jonathan E.                  to just seven. (Id. at 6.) Plaintiff filed this putative class action
Nuechterlein, Pro Hac Vice, Sidley Austin, Washington, DC,     on November 9, 2022. (Dkt. No. 1.) After Defendants moved
Chad S. Hummel, Pro Hac Vice, Sidley Austin LLP, Los           to dismiss, (Dkt. No. 30, 32), Plaintiff amended his complaint.
Angeles, CA, John Goldmark, MaryAnn T. Almeida, Davis          (Dkt. No. 37.)
Wright Tremaine, Seattle, WA, for Defendant Amazon.com
Inc.                                                           Plaintiff brings a single claim for relief, an alleged violation
                                                               of Section 1 of the Sherman Act which prohibits “[e]very
Brian Liegel, Pro Hac Vice, Weil Gotshal & Manges LLP,         contract, combination in the form of trust or otherwise, or
Miami, FL, Eric Shaun Hochstadt, Pro Hac Vice, Weil            conspiracy, in restraint of trade or commerce among the
Gotshal & Manges, New York, NY, Mark Andrew Perry, Pro         several States, or with foreign nations.” 15 U.S.C. § 1. (Id.
Hac Vice, Carrie Mahan, Pro Hac Vice, Sandra Nicole Booth,     at 56.) Plaintiff contends the GTA is “a naked restraint and
Pro Hac Vice, Weil Gotshal & Manges LLP, Washington,           per se unlawful under the Sherman Act.” (Id. at 5, 58.) In the
DC, Mark Steven Parris, Orrick Herrington & Sutcliffe LLP,     alternate, Plaintiff argues it violates the “rule of reason.” (Id.
Seattle, WA, for Defendant Apple Inc.                          at 59.) On March 27, 2023, Defendants filed motions to
                                                               dismiss. (Dkt. Nos. 42, 43.)

                          ORDER
                                                               II. DISCUSSION
John C. Coughenour, UNITED STATES DISTRICT JUDGE
                                                                  A. Legal Standard
 *1 This matter comes before the Court on Defendants’          A defendant may move for dismissal when a plaintiff “fails to
respective motions to dismiss (Dkt. Nos. 42, 43). Having       state a claim upon which relief can be granted.” Fed. R. Civ.
thoroughly considered the parties’ briefing and the relevant   P. 12(b)(6). To survive, the complaint must contain sufficient
record, the Court finds oral argument unnecessary and hereby   factual matter, accepted as true, to state a claim for relief
DENIED in part and GRANTS in part the motions for the
                                                               that is plausible on its face.   Ashcroft v. Iqbal, 556 U.S.
reasons explained herein.
                                                               662, 677–78 (2009). A claim has facial plausibility when
                                                               the plaintiff pleads factual content that allows the court to
                                                               draw the reasonable inference that the defendant is liable
I. BACKGROUND 1


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                                                                     Some types of restraints, however, have such “predictable and
for the misconduct alleged.    Id. at 678. The plaintiff is
                                                                     pernicious anticompetitive effect, and such limited potential
obligated to provide grounds for entitlement to relief that
                                                                     for procompetitive benefit, that they are deemed unlawful per
amount to more than labels and conclusions of the elements
                                                                     se.”    State Oil Co. v. Khan, 522 U.S. 3, 10 (1997). Per se
of a cause of action.      Bell Atl. Corp. v. Twombly, 550
                                                                     treatment is proper only once “experience with a particular
U.S. 544, 545 (2007). Although the Court must accept as
                                                                     kind of restraint enables the Court to predict with confidence
true a complaint's well-pleaded facts, conclusory allegations
of law and unwarranted inferences will not be accepted.              that the rule of reason will condemn it.”         Arizona v.
                                                                     Maricopa Cnty. Med. Soc'y, 457 U.S. 332, 344 (1982). To
   Vasquez v. L.A. Cnty., 487 F.3d 1246, 1249 (9th Cir. 2007).
                                                                     justify per se condemnation, a challenged practice must have
Along with the complaint, the Court may consider documents
                                                                     “manifestly anticompetitive” effects and lack “any redeeming
mentioned in the complaint that are central to the claims and
                                                                     virtue.”   Leegin Creative Leather Prod., Inc. v. PSKS, Inc.,
of undisputed authenticity, Marder v. Lopez, 450 F.3d 445,
                                                                     551 U.S. 877, 886 (2007). The Supreme Court has “expressed
448 (9th Cir. 2006), and matters of judicial notice, such as
                                                                     reluctance to adopt per se rules where the economic impact
public records and court documents, see     Lee v. City of Los
                                                                     of certain practices is not immediately obvious.”      Dagher,
Angeles, 250 F.3d 668, 690 (9th Cir. 2001).
                                                                     547 U.S. at 5 (internal citations omitted). Plaintiff contends
                                                                     the GTA amounts to a “per se violation” of antitrust laws, or
   B. Discussion                                                     in the alternative, a violation under the less demanding “rule
 *2 To plead an antitrust violation under Section 1 of the           of reason” standard. (Dkt. No. 37 at 58–59.) The Defendants
Sherman Act, a plaintiff must allege facts supporting the            move to dismiss under either standard. (Dkt. Nos. 42, 43). The
notion that (1) an agreement exists, (2) the agreement imposed       Court addresses each standard in turn.
an unreasonable restraint of trade through either a per se or
rule of reason analysis, and (3) the restraint affected interstate
commerce. Am. Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781,                    1. Application of Per Se Rule is Inapt as Pleaded
784 (9th Cir. 1996). That plaintiff must also plead a relevant
                                                                     The Supreme Court has distinguished between “agreements
market. See     Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120         made between competitors (horizontal agreements) and
(9th Cir. 2018). Here, the parties do not dispute the existence      agreements made up and down a supply chain, such as
of a contract 2 or the effect on interstate commerce. (Dkt. No.      between a retailer and a manufacturer (vertical agreements).”
51 at 16.) The only issue is whether the GTA imposes an              Frame-Wilson v. Amazon.com, Inc., 591 F. Supp. 3d 975,
unreasonable restraint of trade through either a per se or rule      986 (W.D. Wash. 2022). Nearly every “vertical restraint” is
of reason analysis.
                                                                     “assessed under the rule of reason.”     Ohio v. Am. Express
                                                                     Co., 138 S. Ct. 2274, 2284 (2018). Whereas “[t]ypically
The rule of reason is the default standard for        Section 1      only ‘horizontal’ restraints ... qualify as unreasonable per
claims, and it requires the antitrust plaintiff to “demonstrate
                                                                     se.”    Id. at 2283–84; see also     Arizona, 457 U.S. at 348
that a particular contract or combination is in fact
                                                                     n.18 (“horizontal restraints are generally less defensible than
unreasonable and anticompetitive.” Texaco Inc. v. Dagher,            vertical restraints.”)
547 U.S. 1, 5 (2006). The rule “weighs legitimate
justifications for a restraint against any anticompetitive           Here, the parties dispute whether Defendants entered a
                                                                     “horizontal” agreement, as Plaintiff argues, or a “vertical”
effects.”        Paladin Assocs., Inc. v. Mont. Power Co.,
                                                                     agreement, as Defendants argue. This issue turns on whether
328 F.3d 1145, 1156 (9th Cir. 2003). In applying the rule
                                                                     Defendants entered the agreement as “competitors” or
of reason, the Court “reviews all the facts, including the
precise harms alleged to the competitive markets, and the            “firms at different levels of distribution.”       Bus. Elecs.
legitimate justifications provided for the challenged practice,      Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 730 (1988).
and [ ] determine[s] whether the anticompetitive aspects of the      Plaintiff contends this case is “not about Apple independently
challenged practice outweigh its procompetitive effects.” Id.        selecting its trading partners or Amazon independently
                                                                     enforcing its own platform rules. It is about two horizontal



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competitors agreeing to eliminate the competitive threat              Baskin-Robbins Ice Cream Co., 664 F.2d 1348, 1356-57 (9th
posed by hundreds of other horizontal competitors.” (Dkt. No.         Cir. 1982) (“Competition is promoted when manufacturers
37 at 9.) The Court cannot agree with this characterization.          are given wide latitude in establishing their method of
                                                                      distribution and in choosing particular distributors.”)
See      Vasquez, 487 F.3d at 1249. According to the facts
as pled, “Apple designs, manufactures, and sells iPhones
                                                                      However, the analysis does not end here. Application of the
and iPads,” (Dkt. No. 37 at 12), and Apple “distributes its
                                                                      per se rule “must be based upon demonstrable economic
products through two channels” otherwise known as a “dual
                                                                      effect rather than ... upon formalistic line drawing” between
distribution” strategy. (Id.) In the first level, “Apple maintains
its own retails stores, including an online store and physical        the different types of restraints.   Leegin, 551 U.S. at 887.
outlets. This is Apple's direct distribution channel.” (Id. at 12.)   Plaintiff characterizes the GTA as a “naked restraint” and
At this level, Apple competes horizontally with other retailers       urges that prior judicial experience with these categories of
of its products. (Dkt. No. 51 at 21.) In the second level, “Apple     restraints requires per se condemnation of the GTA. (Dkt.
distributes its products through a network of third-party             No. 37 at 5, 58.) Beyond this conclusory statement, though,
distributors[.]” (Dkt. No. 37 at 12.) In addition to supplying        Plaintiff has not made a showing that the restraint at issue
Amazon with products, “Apple reportedly has Authorized                is one that “courts have had considerable experience with,”
Reseller Agreements with Best Buy, Target, Staples, AT&T,             permitting this Court to “predict with confidence that [the
and others.” (Id. at 13.) At this level, Apple “stands in a           restraint] would be invalidated in all or almost all instances.”
vertical relationship with the retailers it supplies.” (Dkt. No.
                                                                         Leegin, 551 U.S. at 886.
51 at 21.)
                                                                      In fact, Plaintiff acknowledges that third-party sellers have
 *3 Given these allegations, the Court finds that, although
                                                                      not been altogether expelled from Amazon's Marketplace—
the Defendants may compete for the sale of products at a
                                                                      akin to a traditional boycott. (Dkt. No. 51 at 23.) And the fact
horizontal level, they are vertically situated as manufacturer
                                                                      that “Apple and Amazon also compete at the retail level is
and reseller under the agreement at issue here. (Dkt. No.
                                                                      a defining feature of the dual distribution system, not a fact
45 at 30.) The GTA provides the conditions for the sale
                                                                      supporting a pure horizontal agreement requiring the per se
of Apple products on Amazon's Marketplace by imposing
                                                                      rule.” (Dkt. No. 55 at 7.) See Laurence J. Gordon, Inc. v.
restrictions on who may sell Apple products on Amazon's
                                                                      Brandt, Inc., 554 F. Supp. 1144, 1152 (W.D. Wash. 1983).
platform and under what specific circumstances. (Id. at
                                                                      (explaining that a “finding of [horizontal] competition would
31.) The plain text of this agreement strongly suggests that
                                                                      not be significant” in light of dual distribution precedent and
Apple stands as a manufacturer and Amazon as a distributer
                                                                      rejecting argument that restraint was a “group boycott.”)
in this particular relationship. While the Defendants may
be horizontally situated in other circumstances, this does
                                                                      Therefore, given the complex nature of the business
not automatically place all their dealings—particularly, their
                                                                      relationships between the parties and the challenged restraint
vertical ones—into a per se context.
                                                                      at issue—a classic dual-distribution arrangement where a
                                                                      manufacturer provides its products to a reseller and also
This conclusion is consistent with Ninth Circuit precedent,
                                                                      competes with that reseller for sales to customers — the Court
which holds that the rule of reason—not the per se standard
                                                                      finds the per se rules to be inapplicable in this case, at least as
—typically applies in the context of “dual distribution”
                                                                      pleaded. See       Leegin, 551 U.S. at 887 (“It should come as
arrangements. See          Dimidowich v. Bell & Howell, 803
                                                                      no surprise ... that [courts] have ‘expressed reluctance to adopt
F.2d 1473, 1481 (9th Cir. 1986) (The Ninth Circuit has
                                                                      per se rules with regard to restraints imposed in the context of
“categorized restrictions imposed in the context of dual
                                                                      business relationships where the economic impact of certain
distributorships as vertical and analyzed them under the
                                                                      practices is not immediately obvious.’ ”)
rule of reason.”); Frame-Wilson, 591 F. Supp. 3d at 986
(rejecting application of per se standard because relationship
at issue was “a vertical arrangement because it involves
different levels of the supply chain.”) To rule otherwise                                    2. Rule of Reason
would cut against well-established precedent protecting the
                                                                       *4 Defendants argue the Claim fails to satisfy the rule
rights and autonomies of manufactures. See, e.g.,         Krehl v.    of reason because the FAC failed (1) to identify a relevant


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market; and (2) failed to show anticompetitive effect (injury)      Co. v. U.S., 370 U.S. 294, 325 (1962.) Submarkets may
in that market. (Dkt. Nos. 42 at 18–33, 43 at 15–30.) The           be determined by “examining such practical indicia as
Court disagrees for the reasons explained below.                    industry or public recognition of the submarket as a separate
                                                                    economic entity, the product's peculiar characteristics and
                                                                    uses, unique production facilities, distinct customers, distinct
                                                                    prices, sensitivity to price changes, and specialized vendors.”
                   a. Alleged Marketplace
                                                                    Id. These indicia were not intended “as a litmus test, and
Under the rule of reason Plaintiff must “allege that the            subsequent decisions have made clear that submarkets can
defendant has market power within a ‘relevant market.’ ”            exist where only some of these factors are present.”  Bon-
    Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d           Ton Stores, Inc. v. May Dep't Stores Co., 881 F. Supp. 860,
1038, 1044 (9th Cir. 2008). This, by definition, requires           868 (W.D.N.Y. 1994).
sufficient market control that the anticompetitive conduct
actually injures a competitor or consumer. Id. But, at least        Plaintiffs have provided sufficient “practical indicia” to
in an antitrust case, this need not be pled with specificity.       allege, at a minimum, that the supposed submarkets here
Id. An antitrust complaint survives a Rule 12(b)(6) motion          are not necessarily facially unsustainable. Plaintiffs allege
unless it is apparent from the face of the complaint that the       that the smartphone and tablet submarkets are publicly
                                                                    recognized as distinct markets within the online marketplace
alleged market suffers a fatal legal defect.     Id. at 1045.
                                                                    by consumers and retailers, (Dkt. No. 37 at 34–39), that brick-
And since the validity of the “relevant market” is typically a
                                                                    and-mortar stores are not a reasonable substitute, (id. at 39),
factual element rather than a legal element, alleged markets
                                                                    and that Amazon's marketplace has substantial market power
may survive scrutiny under Rule 12(b)(6), subject to factual
                                                                    that reverberates across all online marketplaces, (id. at 46).
testing by summary judgment or trial. Id.; see also    High
Tech. Careers v. San Jose Mercury News, 996 F.2d 987, 990            *5 Defendant Apple, for its part, argues that Plaintiff's
(9th Cir. 1993) (holding that “[t]he process of defining the        alleged market is both over-and-under-inclusive. (Dkt. No. 43
relevant market is a factual inquiry for the jury.”)                at 18–19.) It contends that the alleged market is over-inclusive
                                                                    because it purports to include “all retail goods” which are
However, a complaint may be dismissed under Rule 12(b)              neither “reasonably interchangeable nor have ‘cross-elasticity
(6) if the complaint's “relevant market” definition is facially     of demand’ with the iPhones and iPads at issue.” (Id. at 18.)
                                                                    And that it is under-inclusive because it “fails to capture many
unsustainable.       Newcal, 513 F.3d at 1045. To avoid
                                                                    other avenues for a customer to purchase smartphones and
dismissal, the relevant market must be a product market
                                                                    tablets.” (Id. at 19.) The Court is unpersuaded.
and include the products at issue as well as all economic
substitutes for the products. Id. It must include “the group or
                                                                    Plaintiff has alleged sufficient facts to (1) demonstrate why
groups of sellers or producers who have actual or potential
                                                                    the proffered submarkets do not exclude any reasonable
ability to deprive each other of significant levels of business.”
                                                                    substitutes, (Dkt. No. 37 at 18), and (2) to support a
Id. (quoting Thurman Industries, Inc. v. Pay ‘N Pak Stores,         distinction between the submarkets for iPhones and iPads
Inc., 875 F.2d 1369, 1374 (9th Cir. 1989)).                         and the rest of the goods sold on online marketplaces, (id.),
                                                                    even though the same products may be available in both.
Here, Plaintiffs identify the market at issue as the two-
                                                                    See     F.T.C. v. Whole Foods Mkt., Inc., 548 F.3d 1028,
sided “U.S. Online Marketplace”, in which Amazon is one
                                                                    1040 (D.C. Cir. 2008) (holding that premium natural and
player among many. (Dkt. No. 37 at 32, 43.) Within that
                                                                    organic supermarkets may constitute a submarket distinct
market, Plaintiff identifies a submarket for “smartphone
                                                                    from conventional supermarkets even if some of the products
transactions.” (Id.) Plaintiff pleads facts to demonstrate that
                                                                    were available in both markets). As the court in Whole Foods
companies treat smartphones as a “distinct product line.” (Id.)
                                                                    explained, “[t]he fact that a customer might buy a stick of gum
Using similar logic and facts, Plaintiff also identifies a
                                                                    at a supermarket or at a convenience store does not mean there
submarket for “tablet transactions.” (Id.) The Supreme
                                                                    is no definable groceries market.” Id.
Court has held that submarkets, “which, in themselves,
constitute product markets for antitrust purposes,” may
exist within the broader product market.           Brown Shoe


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Finding no “fatal legal defect,” the Court cannot conclude, as           market, (id. at 25); and that it reduced output, (id. at 28).
Defendants argue, that the “relevant market” here is facially            This combined to benefit Defendants, (id. at 29), and harm
                                                                         consumers, (id. at 30). While Defendants assert the GTA,
unsustainable.     Hicks, 897 F.3d at 1120. Both Defendants              and its subsequent effects, are the result of pro-competitive
dispute the facts as pled in the FAC, but the validity of the            and anti-counterfeit motivations, (Dkt. No. 42 at 26, 43 at
relevant market is a question reserved for a jury, and the Court         24), the Court will cannot address that countervailing fact at
makes no such determination here.         Newcal, 513 F.3d at            this time. See    SmileCare Dental Group v. Delta Dental
1045; see also GTE Corp., 692 F.3d at 790 (holding that                  Plan of California, 88 F.3d 780, 783 (9th Cir. 1996) (holding
“[d]efining the relevant market is a factual inquiry ordinarily          that “[d]ismissal for failure to state a claim is appropriate
reserved for the jury.”).                                                where the complaint states no set of facts which, if true,
                                                                         would constitute an antitrust offense, notwithstanding its
                                                                         conclusory language regarding the elimination of competition
                       b. Alleged Injury                                 and improper purpose.”)

Defendants further argue that Plaintiff failed to show injury             *6 Accordingly, the Court finds that, based on an application
to self and/or anticompetitive effect. (Dkt. Nos. 42 at 26, 43           of the rule of reason, the facts as alleged would constitute
at 24.) “A plaintiff may only pursue an antitrust action if it           an offense—regardless of how Defendants would prefer to
can show antitrust injury, which is to say injury of the type            frame them—and that they are sufficient to survive a motion
the antitrust laws were intended to prevent and that flows               to dismiss.
from that which makes defendants’ acts unlawful.”        Am.
Ad Mgmt., Inc. v. Gen. Tel. Co. of California, 190 F.3d 1051,            III. CONCLUSION
1055 (9th Cir. 1999) (internal citations omitted).                       For the foregoing reasons, Defendants’ motions to dismiss
                                                                         (Dkt. Nos. 42, 43) are DENIED in part and GRANTED in
According to the FAC, Plaintiff purchased an Apple iPad on               part. The Court DENIES Defendants’ motions to dismiss
the Amazon Marketplace, and, but for the GTA, he would                   under a rule of reason analysis. The Court GRANTS
have “paid a lower price.” (Dkt. No. 37 at 12.) Plaintiff claims         Defendant's motions to dismiss Plaintiff's claim under a per
the GTA “eliminated competitive resellers of Apple products”             se analysis with prejudice.
and “those eliminated sellers would have would have caused
prices for these products, including the Apple iPad purchased
by Plaintiff, to be lower.” (Id.) Plaintiff has also pled facts to       All Citations
show the GTA had anticompetitive effects on the merchant
side of the market, (id. at 24); on the consumer side of the             Slip Copy, 2023 WL 3891973




                                                             Footnotes


1       Unless otherwise indicated, the facts below are based on allegations contained in the First Amended
        Complaint (“FAC”) (Dkt. No. 37).

2       The Court incorporates by reference the GTA which was attached as an exhibit to Defendant Apple's sealed
        motion to dismiss. (Dkt. No. 45.)



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